                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 IN RE:                                            )
 James Fortenberry,                                )       Case No. 21-81169-CRJ7
                                                   )
        Debtor(s).                                 )       Chapter 7

     BANKRUPTCY ADMINISTRATOR’S RECOMMENDATION ON THE AMENDED
               APPLICATIONS TO EMPLOY SPECIAL COUNSEL

        COMES NOW the United States Bankruptcy Administrator for the Northern District of
 Alabama, by and through the undersigned counsel of record, and regarding the amended
 applications to employ special counsel states as follows:

        1. The Bankruptcy Administrator has reviewed the amended application to employ J
           Brent Burney & Burney & Burney, LLC (Doc. 39) and Phil D. Mitchell, Esq. &
           Harris, Caddell & Shanks, PC (Doc. 40) (Applicants) as special counsel to pursue a
           personal injury case and finds the same complies with the requirements of 11 U.S.C.
           §327(e) and Rule 2014 of the Federal Rules of Bankruptcy Procedure.

        2. The Applicants seek to be employed separately contingency fees of 22.22% and
           11.11%. The total contingency fee will be 33.33% of any recovery plus expenses.

        3. The Applicants have affirmed in the amended applications that no agreement for
           sharing compensation exists outside of each law firm.


        WHEREFORE, the premises considered, Bankruptcy Administrator recommends that the
 applications to employ special counsel be approved.

        Respectfully submitted April 14, 2022.

                                            J. THOMAS CORBETT
                                            United States Bankruptcy Administrator for the
                                            Northern District of Alabama
                                            /s/ Richard M. Blythe
                                            Richard M. Blythe
                                            Assistant U.S. Bankruptcy Administrator
                                            Alabama Bar ID: ASB-3199-B52R


 OF COUNSEL:
 United States Bankruptcy Administrator
 Northern District of Alabama

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 Seybourn H. Lynne Federal Building
 P.O. Box 3045
 400 Well Street NE. Room 236
 Decatur, Alabama 35602
 (256) 340-2740

                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 14, 2022, I have served a copy if the foregoing on the
 parties listed below by electronic service through the Court’s CM/ECF system and/or by placing
 a copy of the same in the U.S. Mail, postage prepaid.

 Tazewell Shepard, Esq., Trustee, Via CM/ECF electronic service

 John C. Larsen, Esq., Attorney for the Debtor, Via CM/ECF electronic service

 J Brent Burney, Esq.,Proposed Special Counsel for the Debtor, Via CM/ECF electronic service

 Phil D. Mitchell, Esq.,Proposed Special Counsel for the Debtor, Via CM/ECF electronic service

                                             /s/Richard M. Blythe
                                             Richard M. Blythe




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